NR: VIN
F. #2010R02175

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK:
we nee nee eee eee ee eee ee x FILED UNDER SEAL
UNITED STATES OF AMERICA COMPLAINT AND
AFFIDAVIT
- against - IN SUPPORT OF
APPLICATION
YONG MIN CHOE, FOR AN ARREST
also known as “Jason,” WARRANT
Defendant. (18 U.S.C. § 1349)
wr were eee wee eee een e ene ----X Case No. 19-1090-M
EASTERN DISTRICT OF NEW YORK, SS:
William E. Brust, being duly sworn, deposes and states that he is a Special
Agent with the United States Department of Homeland Security, Homeland Security
Investigations (“HSI”), duly appointed according to law and acting as such.
On or about and between March 14, 2004 and December 2017, within the
Eastern District of New York and elsewhere, the defendant YONG MIN CHOE, also known
as “Jason,” together with others, did knowingly and intentionally conspire to devise a scheme
and artifice to defraud, and to obtain money and property by means of materially false and
fraudulent pretenses, representations and promises, and for the purpose of executing such
scheme and artifice, to transmit and cause to be transmitted by means of wire communication
in interstate and foreign commerce, writings, signs, signals, pictures and sounds, contrary to

Title 18, United States Code, Section 1343.

(Title 18, United States Code, Section 1349)
The source of your deponent’s information and the grounds for his belief are
as follows:!

1. As a Special Agent with HSI, I have participated in the investigation of
numerous cases involving the harboring and employment of undocumented aliens,
aggravated identity theft and fraud. I am familiar with the facts and circumstances set forth
below from my participation in the investigation, my review of the investigative file and
from reports of other law enforcement officers involved in the investigation.

The Franchisor, Franchise Agreement and Legal Framework

2. On or about March 14, 2004, the defendant YONG MIN CHOE, also
known as “Jason,” entered into a standard franchise agreement (“the Agreement”) with 7-
Eleven Incorporated (“SEI”), the franchisor of most 7-Eleven stores in the United States, for
the operation of 7-Eleven Store Number 32608, located at 329 Washington Avenue,
Brentwood, New York (the “Store”). Ihave examined a copy of the Agreement. Pursuant
to the Agreement, SEI retained ownership of, but granted to CHOE a license to use, among
other things, the real property, building, SEI trademarks and specialized equipment (such as
certain food and drink machines) associated with the Store. SEI also provided a revolving
line of credit to CHOE to pay vendors.

3. The Agreement stated that a material breach of its terms would occur if
the defendant YONG MIN CHOE, also known as “Jason,” among other things, “violate[d] or

fail[ed] to comply with any applicable law, rule, regulation, ordinance or order relating to the

 

I Because the purpose of this Complaint is to set forth only those facts necessary
to establish probable cause to arrest, I have not described all the relevant facts and
circumstances of which I am aware.
operation of the store.” The Agreement further provided that upon such a breach, SEI
could, among other things, rescind the license to operate the Store, repossess its property and
terminate CHOE’s revolving line of credit.

4. Among the legal provisions applicable to the Store’s operation was
Title 8, Code of Federal Regulations, Section 274a, which required the defendant YONG
MIN CHOBE, also known as “Jason,” to verify through identification documents that potential
Store employees were authorized to work in the United States. Furthermore, the Fair Labor
Standards Act (“FLSA”), Title 29, United States Code, Section 207(a)(1), required
employers such as CHOE to pay employees at least one and one-half times their regular rates
of pay for hours worked in excess of 40 in a workweek.

5. Based on my conversations with representatives of SEI, I learned how
franchisees like the defendant YONG MIN CHOE, also known as “Jason,” would pay their
employees. SEI provided CHOE with an automated payroll service that required CHOE to
enter his employees’ personal identifying information, including names and social security
account numbers, and hours worked into a data terminal maintained at the Store. CHOE
used the system and thereby regularly caused the system to transmit payroll information by
wire from the Store in Long Island, New York, to SEI’s corporate headquarters in Dallas,
Texas. SEI processed the payroll and issued wages directly to the Store employees by
check, direct deposit or a debit card issued in an employee’s name. SEI maintained a record
of the payroll data entered by its franchisees, including CHOE, as part of the regular course

of its business.
The Fraudulent Scheme

6. On or about and between March 14, 2004 and December 2017, the
defendant YONG MIN CHOE, also known as “Jason,” together with others, engaged ina
fraudulent scheme to increase his profits by employing aliens without work authorization
(“undocumented aliens”) at the Store, paying the undocumented aliens sub-standard wages
and denying them overtime compensation. To carry out the scheme, CHOE knowingly
failed to require undocumented aliens to show proof of authorization to work in the United
States, accepted false documentation from undocumented aliens and provided false identities
and identification documents to undocumented aliens to fraudulently represent that the aliens
were authorized to work in the United States.

7. Furthermore, to conceal his scheme and avoid being found in breach of
the Agreement, instead of entering the true identities of the undocumented alien-employees
into SEI’s payroll system, the defendant YONG MIN CHOE, also known as “Jason,” entered
false information, including names and social security account numbers. In some instances,
the false information belonged to real individuals, and in other instances, the names and
social security account numbers entered by CHOE were fictitious. Through his scheme,
CHOE denied SEI the right to control its property by terminating the Agreement with
CHOE, repossessing its real and other property, and taking over management of the Store.

8. The defendant YONG MIN CHOE, also known as “Jason,” exploited
the undocumented alien-employees by misappropriating significant portions of their wages
for his own use. Among other things, CHOE withheld from undocumented alien-employees

the paychecks and debit cards that SEI issued in the false names that CHOE had provided to
SEI, paying only a portion of the wages to workers in cash and keeping the rest of the money
for himself.
CHOE’s Employment of Individual 1

9. An individual whose identity is known to me (“Individual 1”) was an
undocumented alien who worked at the Store from in or about and between 2002 and May
2016. Ihave interviewed Individual 1, who reported the following information, in sum,
substance and part.

10. The defendant YONG MIN CHOE, also known as “Jason,” was aware
that Individual 1 was not authorized to work in the United States because when Individual 1
applied to work at the Store, Individual 1 informed CHOE that Individual 1 did not have a
work permit, social security card or green card. CHOE nonetheless hired Individual 1 and
paid Individual 1 under false names and social security account numbers.

11. Individual 1 worked six to seven 12-hour shifts per week at the Store
and was paid approximately $680 to $690 weekly. The defendant YONG MIN CHOE, also
known as “Jason,” did not give Individual 1 overtime pay, vacation or sick leave. Over the
course of Individual 1’s employment, CHOE provided Individual 1 with SEI debit cards, at
least one of which bore the name of another individual, as payment of Individual 1’s wages.”
Individual 1 recalled the specific names of some of the individuals under which CHOE paid
Individual 1.

12. Ihave examined the payroll records maintained by SEI for the Store

(the “Payroll Records”) and identified many of the names that Individual 1 reported as being

 

2 Over the course of Individual 1’s employment, there were some periods when
CHOE paid Individual 1’s wages in cash.
used by CHOE and Individual 1 in the payroll records submitted by CHOE to SEI, including
the name of John Doe 1. J determined that John Doe 1 was reported by CHOE to SEI as
having a social security account number ending in 6285. CHOE further reported that John
Doe 1 worked at the Store from the periods in or about and between November 2011 and
July 2013 and in or about and between October 2013 and October 2015. Individual 1
reported that during the periods when Individual 1 was paid under the name of John Doe 1,
there was no one employed at the Store by that name and that the Payroll Records associated
with John Doe | represented the earnings of Individual 1.

13. Based on my examination of the Payroll Records, I further determined
that CHOE reported to SEI that a person with Individual 1’s name was working at the Store
from in or about and between June 2009 and August 2012, but reported that Individual 1 had
a social security account number ending in 9556. According to the records of the Social
Security Administration (the “SSA”), the social security account number ending in 9556 is
fictitious in that it was never issued by the Commissioner of the SSA nor has it ever been
assigned to any individual. Accordingly, it is not a valid social security account number.

CHOE’s Employment of Individual 2

14. | A second individual whose identity is known to me (“Individual 2”)
was an undocumented alien who worked at the Store for approximately three years until he
stopped working in September 2016. HSI Special Agents interviewed Individual 2, who
reported the following information, in sum, substance and part.

15. The defendant YONG MIN CHOE, also known as “Jason,” was aware
that Individual 2 was not authorized to work in the United States and paid Individual 2 under

a false name and social security number. Individual 2 informed CHOE that Individual 2
was not authorized to work by presenting CHOE with a copy of Individual 2’s non-United
States passport and an expired visa. CHOE nonetheless hired Individual 2. Individual 2
usually worked 32 hours during a week.

16. The defendant YONG MIN CHOE, also known as “Jason,” provided
Individual 2 with an SEI debit card to pay Individual 2’s wages. Individual 2 was paid
under the name of John Doe 2, an individual who had a social security account number
ending in 6185. Individual 2 is a relative of John Doe 2 and knows that John Doe 2 never
worked at the Store.

17. | Based on my examination of the Payroll Records, I determined that
CHOE reported to SEI that John Doe 2 worked at the Store from in or about and between
October 2012 and September 2016. Atno time did CHOE report to SEI that Individual 2
was employed at the Store.

CHOE’s Employment of Individual 3

18. A third individual whose identity is known to me (“Individual 3”) was
an undocumented alien who worked at the Store from in or about and between 2005 and
December 2017. I have interviewed Individual 3, who has reported the following
information, in sum, substance and part.

19. Individual 3 told the defendant YONG MIN CHOE, also known as
“Jason,” that Individual 3 was not authorized to work in the United States. CHOE
nonetheless hired Individual 3. While employed at the Store, Individual 3 worked
approximately 60 hours per week and was not paid overtime until starting in or about 2016.
When Individual 3 began working for CHOE, CHOE told Individual 3 to provide a false

identity for payroll purposes. Individual 3 complied and CHOE paid Individual 3 under the
false identity. Subsequently, CHOE assigned Individual 3 other stolen identities for payroll
purposes. At other times during Individual 3’s period of employment, CHOE assigned a
fictitious social security account number to Individual 3. Individual 3 recalled the specific
names of some of the individuals under which CHOE paid Individual 3.

20. Upon my review of the Payroll Records, I identified many of the names
that Individual 3 reported as being used by CHOE and Individual 3, including the names of
John Doe 3, John Doe 4 and John Doe 5.

21. I determined that John Doe 3 was reported by CHOE to SEI as having a
social security account number of ending in 0217 and purportedly worked at the Store from
the periods in or about and between January 2008 and July 2009, in or about and between
December 2011 and March 2013, in or about and between April 2014 and March 2016, and
August 2016 to December 2017. Individual 3 reported that during the periods when
Individual 3 was paid under the name of John Doe 3, there was no one employed at the Store
by that name.

22. | Upon my review of the Payroll Records, I determined that John Doe 4
was reported by CHOE to SEI as having a social security account number of ending in 7802
and purportedly worked at the Store from the period in or about and between May 2016 and
June 2018. Individual 3 reported that during the periods when Individual 3 was paid under
the name of John Doe 4, there was no one employed at the Store by that name.

23. | Upon my review of the Payroll Records, I determined that John Doe 5
was reported by CHOE to SEI as having a social security account number of ending in 6431
and purportedly worked at the Store from the period in or about and between March 2007and

October 2009. According to the records of the SSA, the social security account number
Case 2:20-cr-00153-JS Document1 Filed 11/19/19 Page 9 of 9 PagelD #: 9

ending in 6431 is fictitious in that it was never issued by the Commissioner of the SSA nor
has it ever been assigned to any individual. Accordingly, it is not a valid social security
account number.
Conclusion

24. In furtherance of the scheme, the defendant YONG MIN CHOE, also
known as “Jason,” entered false identification information for Individual 1, Individual 2,
Individual 3 and others into the SEI payroll system and caused the system to transmit the
materially false information by wire from the Store to SEI headquarters in Texas.

WHEREFORE, your deponent respectfully requests that the defendant YONG
MIN CHOE, also known as “Jason,” be dealt with according to law. Your affiant also
respectfully requests that this affidavit and any issued arrest warrant be sealed as the
defendant remains at large and public disclosure of this affidavit and/or arrest warrant may

lead him to flee or otherwise seek to avoid apprehension.

Liles, & Dg~

William E. Brust

Special Agent, United States Department of
Homeland Security, Homeland Security
Investigations

Sworn to before me this
/ 7 day of November, 2019

 

THE HONORABLE ROANNE L. MANN
UNITED STATES MAGISTRATE JUDGE
EASTERN DISTRICT OF NEW YORK
